                       IN THE UNITED STATES BANKRUPTCY COURT
                               FOR DISTRICT OF DELAWARE

 IN RE:                                        : CHAPTER 7
 PARKER SCHOOL UNIFORMS LLC,                   :
                                               :
                                               : CASE NO. 18-10085 (KBO)
                                               :
         Debtor                                :

             REPORT FOR BANKRUPTCY JUDGES IN CASES TO BE CLOSED

 A$                              1,682,822.27 TOTAL GROSS RECEIPTS
                                         0.00 TOTAL DISBURSEMENTS
     $                           1,682,822.27 NET BALANCE FOR DISTRIBUTION


 B       FEES AND EXPENSES

     $                 73,734.67   Trustee’s Compensation
     $                    291.41   Trustee’s Expenses
                            0.00   Trustee’s Firm’s Legal Fees
                            0.00   Trustee’s Firm’s Legal Expenses
     $                675,711.68   Other Firm’s Legal Fees
     $                  7,516.44   Other Firm’s Leal Expenses
     $                 29,009.00   Trustee’s Accounting Firm’s Fees
     $                    112.95   Trustee’s Accounting Firm’s Expenses
     $                 25,029.00   Other Professional Fees/Expenses
                            0.00   Fee for Auctioneer/Liquidator Fees
                            0.00   Expenses for Auctioneer/Liquidator Expenses
     $                 57,688.04   Other Expenses (Bank and Technology Service Fees)
     $                  1,940.26   Other Expenses (BOND)
                            0.00   Other Expenses (Storage Fees)
     $                  8,746.56   Other Expenses
     $                  4,900.00   Clerk's Costs
                            0.00   U. S. Trustee Fees
                            0.00   Other State or Local Income or Business Taxes

 C       DISTRIBUTIONS

     $                 76,728.55   Secured Creditors
     $                721,413.71   Priority Creditors
                            0.00   Unsecured Creditors
                            0.00   Equity Security Holder

TOTAL DISBURSEMENTS (Sum of B+C = A) $1,682,822.27 If applicable, list portions of this total
distributed by Trustee in Chapter other than Chapter 7 (DO NOT include payments to Debtor: 0.00)
 D. CLAIMS ALLOWED
List amount allowed to each class of creditors (whether paid in full or not). However, if the class
received nothing, enter “0” on the line.

 CLAIMS ALLOWED                                    CLAIMS PAID BY CLASS
 BY CLASS                                          AS PROPOSED

               76,728.55 Secured Claims                                  76,728.55 Secured Claims

            1,264,034.39 Priority Claims                                721,413.71 Priority Claims

            3,748,057.63 Unsecured Claims                                      0.00 Unsecured Claims


        I certify under penalty of perjury that information provided on this form is true and correct to
the best of my knowledge, information, and belief.




                                                     /S/JEOFFREY L BURTCH, TRUSTEE
                                                     Jeoffrey L. Burtch
                                                     Trustee


                                                     Date: 4/30/2024
